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                              IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF UTAH


    FRIENDS OF CEDAR MESA,

                              Plaintiff,               CONSOLIDATED SCHEDULING
                                                       ORDER IN AN ADMINISTRATIVE
    v.                                                 CASE UNDER DUCivR 7-4

    U.S. DEPT. OF THE INTERIOR et al.,
                                                       Case No. 4:19-cv-00013-DN-PK
                              Defendants.


    SOUTHERN UTAH WILDERNESS                           District Judge David Nuffer
    ALLIANCE,
                                                       Magistrate Judge Paul Kohler
                              Plaintiff,

    v.

    DAVID BERNHARDT et al.,

                              Defendants.



              Pursuant to Local Rule 7-4(a)(5), and the Court’s May 6, 2019 Order Granting Motion to

Consolidate Related Cases, 1 the parties to these consolidated cases jointly submit the following

proposed consolidated case schedule:

         1.      Agency Decision(s) Challenged:

                 a.     Plaintiff Friends of Cedar Mesa challenges Federal Defendants’ Final

Environmental Assessment (EA), Finding of No Significant Impact (FONSI), Section 106




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Cultural Resources Report, Decision Record, and subsequent lease issuances for the BLM Utah

March 2018 Lease Sale.

           b.      Southern Utah Wilderness Alliance challenges Federal Defendants’ Final

Environmental Assessment (EA), Finding of No Significant Impact (FONSI), Decision Record,

and subsequent lease issuances for the BLM Utah March 2018 Lease Sale, as well as the

Determination of NEPA Adequacy, Decision Record and lease issuance for the BLM Utah

December 2018 Lease Sale.

   2.      Plaintiffs’ Ground for Challenging Agency Decision:

           a.      Plaintiff Friends of Cedar Mesa contends that Federal Defendants violation

the National Historic Preservation Act (NHPA) by failing, inter alia, to properly identify and

analyze the adverse effects to cultural resources in the lease area; violated the National

Environmental Policy Act (NEPA) by failing to take a “hard look” at the environmental impacts

of oil and gas leasing, failing to consider appropriate alternatives, and failing to prepare an

Environmental Impact Statement (EIS); and violated the Endangered Species Act (ESA) by

failing to initiate or reinitiate consultation over the impacts of the March 2018 lease sale. These

failures were arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law. 5 U.S.C. § 706(2)(A).

           b.      Plaintiff Southern Utah Wilderness Alliance (SUWA), contends that Federal

Defendants violated the National Environmental Policy Act (NEPA) by failing to analyze or

disclose (1) reasonably foreseeable downstream greenhouse gas (GHG) emissions that will result

from development of the leases, and (2) cumulative impacts of its leasing decisions to national

monuments and cultural resources, among other resource values. SUWA also contends that

Federal Defendants violated NEPA and the Federal Land Policy and Management Act by




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unlawfully restricting public opportunities to participate in the December 2018 lease sale. These

failures were arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law. 5 U.S.C. § 706(2)(A).

   3.      Agency’s Reasons in Support of Agency Decision: The Bureau of Land

Management’s May 17, 2018 Decision Record (DR), Finding of No Significant impact, and the

February 5, 2019 Determination of NEPA Adequacy (DNA) authorizing BLM to issue oil and

gas leases were not arbitrary and capricious because the DR and DNA were based on

information and evidence that complied with its obligations under NEPA, NHPA, the

Endangered Species Act, and the Mineral Leasing Act, among other things. Moreover, Plaintiffs

request that this Court declare unlawful and set aside the Environmental Assessment and other

documents that were prepared to assist BLM make its final leasing decision do not constitute

“final agency action,” which is a jurisdictional prerequisite to waive the United States’ sovereign

immunity under 5 U.S.C. § 702. Therefore, this court should affirm BLM’s May 17, 2018 and

February 5, 2019 decisions in their entirety.

   4.      Dates of Filing of Relevant Documents:

           Administrative Record: 7/15/2019

           Motion to Amend Complaint: 7/26/2019

           Amended Agency Statement: 8/5/2019

   5.      Objections to contents of administrative record shall be filed by: 9/13/2019.

   6.      Response to objections to administrative record shall be filed by: 14 days from the

date of Plaintiff’s motion.

   7.      Plaintiffs shall file their respective “Opening Briefs” by: 10/8/2019 or 45 days after

the resolution of any objections to, or supplementations to, the record, whichever is later.




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   8.       Defendants shall file a consolidated “Opposition Brief” by: 11/8/2019 or 28 days

from the filing of Plaintiff’s Opening Brief, whichever is later.

   9.       Plaintiffs may file their respective “Reply Briefs” no later than: 11/29/2019 or 14

days from the filing of the agency’s Opposition Brief, whichever is later.

   10.      Oral argument on the parties’ briefs, if necessary, will be scheduled after briefing is

complete.

   Amendments to this Scheduling Order shall only be approved for good cause shown.



         Signed May 29, 2019.

                                               BY THE COURT


                                               ________________________________________
                                               Paul Kohler
                                               United States Magistrate Judge




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